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Defendant: THOMAS GREGORY PUBLICATIONS INC                                                  Page I of3
Case Number: 3:12cr48-002


                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF INDIANA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                      Case Number 3:12cr48-002

                                                        USM Number N/A
THOMAS GREGORY PUBLICATIONS INC
              Defendant
                                                        RSTEVEN BOM
                                                        Defendant's Attorney


                                 JUDGMENT IN A CRIMINAL CASE

THE DEFENDANT pleaded guilty to count 2 of the Indictment on 6/18/2012.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                            Date Offense              Count
            Title, Section & Nature of Offense                 Ended                Number(s)


     18:1343 WIRE FRAUD                                         2011                    2

The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Counts 1 and 3 through 11 of the Indictment are dismissed on the motion of the United States.

IT IS ORDERED that the defendant must notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant must notify the court and United States Attorney of any material change in economic
circumstances.
                                                 September 20, 2012
                                                 Date of Imposition of Judgment

                                                 sl JOn E. DeGuilio
                                                 Signature of Judge

                                                 Jon E. DeGuilio, United States District Judge
                                                 Name and Title of Judge

                                                 September 27,2012
                                                 Date
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Defendant: THOMAS GREGORY PUBLICATIONS INC                                                         Page 2 of3
Case Number: 3: I2cr48-002


                              CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                        Total Fine                      Total Restitution

              $400.00                             NONE                            $172,371.15

        The defendant shall make the special assessment payment payable to Clerk, U.S. District
Court, 102 Robert A. Grant Courthouse, 204 South Main Street, South Bend, IN 46601. The
special assessment payment shall be due immediately.

                                                  FINE

          No fine imposed.

                                             RESTITUTION

          Restitution in the amount of $172,371.15 is hereby imposed.

        The defendant shall make restitution payments (including community restitution, if
applicable) payable to Clerk, U.S. District Court, 102 Robert A. Grant Courthouse, 204 South Main
Street, South Bend, IN 46601, for the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid in
full prior to the United States receiving payment.
                                                                                       Priority Order
                                 **Total Amount             Amount of                  or Percentage
      Name of Payee                  of Loss            Restitution Ordered             of Payment

 See 8-Page Attachment                                       $172,371.15
 with List of 267 Victims

 Totals                                                      $172,371.15

If at any time this defendant's restitution payments combine with restitution made on these claims
by any other person to amount to an aggregate sum of $172,371.15, this Defendant shall have no
further obligation to make restitution under this order.

         **Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23,
1996.
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Defendant: THOMAS GREGORY PUBLICATIONS INC                                                        Page 3 of3
Case Number: 3: I2cr48-002


                                   SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties
are due as follows:

A      Lump sum payment of $172,371.15 due immediately, balance due, in accordance with B,
below;

B       Payment in equal monthly installments of not less than $ 200.00;

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) fine interest, (6) community restitution, (7) penalties, and
(8) costs, including cost of prosecution and court costs.
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                                        KOUTTOULASjTGP (3:12-cr-48)
                                     VICTIM LOSS INFO FOR RESTITUTION
         I
         II                              Victim Name                        I Paid to TKjTGP
      1 lACS Title and Closing Services                                              $490.00
      2 IAES, Inc. (Associated Engineers and Surveyors, Inc.)                        $620.00
      3 IAgri-Management Solutions, Inc.                                             $425.00
      4 IAlabama Timber Industries, Inc.                                           $1,800.00
      5 IAII Seasons Home Center                                                     $420.00
      6 IAmerican Title Agency, Inc.                                                 $325.00
      7 IAndalusia Farmers Cooperative, Inc.                                         $325.00
      8 IArgonne lumber & Supply, Inc.                                               $275.00
      9 IAuberg Crop Ins Services                                                    $225.00
      10 I B & J Drilling Co. Inc.                                          I        $395.00
      11 Backwoods Buildings & Truss llC (Travis French)                             $300.00
      12 Baker Bonnigson Realty & Auctioneers, Inc.                                  $325.00
      13 Bank of Pine Hill                                                           $325.00
      14 Barnick Agency, Inc.                                                        $750.00
      15 Bauer Built, Inc.                                                           $550.00
      16 Beith Associates                                                            $292.50
      17 Bell Title/Bass law Offices                                                 $497.50
      18 Beulah E. Apperson (B Apperson Realty)                                      $200.00
      19 Bill's Tire & Service, Inc.
         I                                                                           $450.00
      20 Block Insurance Agency, Inc.                                                $900.00
         I
         I
      21 Boe Brothers Tiling, Inc.                                                   $890.00
      22 Bogart, Pederson & Associates, Inc.                                         $275.00
      23 Borkholder Excavating LlC                                                   $425.00
      24 Bozeman & Bozeman                                                           $500.00
     25 Burdine Auto Body Inc.                                                       $475.00
     26 Bush Agencies, Inc.                                                          $325.00
      27 Bushey Enterprises, Inc.                                                    $390.00
     28 Butler County land and Title Co., Inc.                                       $395.00
     29 Camden National Bank (Butler County Bank)                                    $590.00
     30 Caro Community Hospital                                             I        $495.00
     31 Cary Rosenbaum                                                               $250.00
     32 Case Surveying                                                               $495.00
     331Castongia's, Inc.                                                            $325.00
     34 icatch-Um lake Bait Shop (Alex Macleod)                                      $420.00
     35icentennial Title Insurance Agency                                            $325.00
     36 icentury 21 Northwoods Team, Inc.                                   I        $325.00



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                                     KOUnOULAS/TG P (3:12-cr-48)
                                  VICTIM LOSS INFO FOR RESTITUTION

                                      Victim Name                            Paid to TK/TGP
     37 Chesterville Sand & Gravel Co., Inc.                                        $635.00
     38/Choctaw Co. Soil & Water Conservation District                            $3,000.00
     39 /choctaw Survey Consultants LLC                                             $325.00
     40 ICity of Ozark                                                   !          $325.00
     41 IClearspring Engine Service                                                  $95.00
     421Cleveland & Riddle, LLC (Chip Cleveland)                                  $1,200.00
     43 icol. O.C Johnson, Auctioneer (Orville Johnson)                             $162.50
     44)coldwell Banker S.R.E. Realtors (Michelle Amos)                             $380.00
     45!Coldwell Banker Putnam Real Estate Center (Wanda Elkins)                    $325.00
     46)community Title Agency, Inc.                                                $390.00
     471conneautville Farmers Exchange                                              $325.00
     48 IConnor Builders Supply & True Value                                        $200.00
     49 Consumers National Bank                                                     $970.00
     50 Cooperative Elevator Co.                                                  $2,500.00
     51 Cornerstone Molding                                                         $340.00
     52 Corning Seed & Supply, Inc.                                                 $500.00
     53 /country Furniture Restoration, Inc.                             I          $255.00
     54 \countryside Farms (Steve Schmitz)                               !          $325.00
     55 ICountryside Furnishings (John Kuhns)                            I          $460.00
     56/County Line Engine                                               1          $195.00
     571Crop Production Services - Onarga, IL
     58 ICrop Production Services - Paxton, IL                                      $325.00
     59 Crop Tech, Inc.                                                             $325.00
     60 Cullman County Soil & Water Conservation District                         $3,000.00
     61 Dalton Law Firm, LLC                                             I          $460.00
     62 Dave Anderson Realty/Yontz-Anderson Ins Agency                              $250.00
     63 David Gingell Insurance LLC (Thumb Ins Group Inc.)                          $295.00
     641 Dealey Accounting Firm                                                     $465.00
     65 Deml Heating & Air Conditioning, LLC                                        $200.00
     66 Dye Lumber                                                                  $290.00
     67 E. Mark Ezell, P.C                                                          $325.00
     68 Eastern Michigan Bank                                                       $650.00
     69 Ed Johnson & Son Firestone Car Care Center                                  $150.00
     70 Elmer Kauffman (Kauffman's Machinery)                                       $100.00
     71 Everlast Roofing Inc. (Gary Gerhart)                                        $400.00
     72 Exxel Engineering, Inc.                                                     $465.00



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                                     KOUnOULAs/TGP (3:12-cr-48)
                                   VICTIM LOSS INFO FOR RESTITUTION

                                       Victim Name                               Paid to TKjTGP
     73 Fairfield County Farm Bureau, Inc.                                   I          $390.00
     74 ,First South Farm Credit                                                      $1,050.00
     75!Flax Law Firm/Midland Title West                                                $490.00
     76 Fleming Engineering (John Fleming)                                              $275.00
     77 Florida Land Title & Trust Co., Inc.                                            $250.00
     78 Forestall Company, Inc.                                                         $500.00
     79 i Fred Hageny dba as Storage City and Bedrock Sand & Gravel          I          $500.00
     80 IFulton Forest Products                                              I          $390.00
     81 !G & G Hauling & Excavating, Inc.                                               $295.00
     82!Garry Cramer/Cramer Insurance Agency                                          $4,060.00
     83 IGarverick Surveying, Inc.                                                      $385.00
     841 Geiger Trenchless Solutions, LLC                                               $325.00
     85 Geoline Surveying, Inc.                                                         $275.00
     86 German Mutual Insurance Company of Delphos                                    $1,400.00
     87 Graves Cosby Insurance Agy Inc.                                      I          $225.00
     88 Greater Minnesota Credit Union                                                  $450.00
                                                                             I
     89!GreenStone Farm Credit Services                                      I        $3,394.00
     90 Gries Seed Farms, Inc.                                                          $650.00
     91 Griffin Wood Co., Inc.                                               I          $390.00
     92 Gross Lumber, Inc.                                                            $1,650.00
     931Gudeman Farms, Inc.                                                           $2,525.00
     941Gulisek Construction LLC                                                        $460.00
     95 IH.E. Browder Veneer Co.                                             I        $5,000.00
                                                                             I

     96!Haley Brothers Excavating, Inc.                                      I          $415.00
     971 Harley Drilling and Producing, Ltd                                           $2,000.00
     981Harper Brothers Farms                                                           $536.00
     991Hasser Insurance Agency                                              !          $500.00
     1001 Hayneville Fiber Transport, Inc. dba Camellia Communications                  $245.00
     101 Hayneville Telephone Co. Inc.                                                  $525.00
     1021 Heit Realty, Inc.                                                  I          $100.00
     103 Hendrix Town & Country, Inc.                                                   $355.00
     1041 Hershberger Country Store                                          I        $1,062.50
     105 Highland County Water Company, Inc.                                            $490.00
     1061 Hilltop Machine Shop, LLC (David Yoder)                                       $195.00
     107 Hitchings Insurance Agency, Inc.                                               $295.00
         I
     108i Hoffman Ag Service, Ltd                                                       $390.00



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                                      KOUnOULAS/TGP (3:12-cr-48)
                                   VICTIM LOSS INFO FOR RESTITUTION

         I                              Victim Name                            Paid to TK/TGP
     1091Holmes Limstone Co.                                                          $450.00
     1101 Hubbard County Abstract Co., Inc.                                           $325.00
     l11llrwin Real Estate                                                            $325.00
     1121J & M Dairy Equipment                                                        $325.00
     11311. McLeod Realty, Inc.                                                       $390.00
     114IJ.w. Lassiter Lumber Co., Inc.                                               $295.00
     115iJasperson Realty                                                             $700.00
     1161Jerome Filbrandt Plumbing & Heating, Inc.                                    $160.00
     117lJim Ambrosius Custom Trucking Corp.                                          $150.00
     118IJM Auction Service LLC                                                       $375.00
     119lJoe Ann Steele Insurance Center                                              $250.00
     120lJohn Collier Logging, Inc.                                                   $550.00
     1211Jos Sanders Inc. (Sanders Meats)                                             $244.95
     1221 K.E. McCartney & Associates, Inc.                                           $650.00
     1231 Kaiser's Crop Service, Inc.                                                 $325.00
     1241 Kankakee Valley REMC                                                        $775.00
     1251Kari Ball Insurance Agency, LLC                                              $490.00
     1261 Kelley Engineering LLC                                           I          $530.00
        J
     1271 Kemner-Iott Agency, Inc.                                                    $450.00
         I
     1281Kemp Tiling Company, Inc.                                                    $390.00
     1291Kennedy Land & Timber, Inc.                                                $1,560.00
     1301 King Timber, LLC                                                            $900.00
     131lKramer & Kramer, Inc.                                                      $1,060.00
         I

     1321L.R. Nisley & Sons                                                           $960.00
     1331 Lambert Forest Products, LLC                                                $820.00
     134lLandmark Services Cooperative fka Cooperative Plus, Inc.                     $920.00
        I
     135lLaPorte Insurance Agency                                                     $250.00
     1361 Laura's County Store LLC                                                    $340.00
         I
     1371 Lerch's Barnlot Ltd                                              I          $850.00
     1381 Lewis Land Professionals, Inc.                                            $2,280.00
         I
     1391 Lightfoot & Nichols                                              I          $395.00
     140lLiPinski Logging & Lumber, Inc.                                            $3,000.00
     1411Loehmer Ag Products (Christopher Loehmer)                                    $450.00
     142jLondon Animal Hospital                                                       $390.00
     143jLonz Law Firm LLC                                                            $295.00
     1441 Lugibihl Spray Service                                                      $100.00



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                                      KOUTTOULAS/TGP (3:12-cr-48)
                                   VICTIM LOSS INFO FOR RESTITUTION

        I                              Victim Name                                Paid to TK/TGP
     1451M & M Sheet Metal                                                               $215.00
     146 Martin's Farm Tiling, Inc.                                                      $325.00
     147!McBride Land & Development Co.                                                  $985.00
     1481McClymonds Supply & Transit Co, Inc.                                 /          $325.00
     149 McMahon Associates                                                              $975.00
     1501 Metcalf & Metcalf Real Estate Inc.                                  I          $172.50
                                                                              I
     151 Michael Leonardelli                                                           $1,000.00
     1521Michigan Valley Irrigation                                                    $3,000.00
     1531 Midwest Forestry, Inc.                                                         $975.00
     1541 Miller Custom Metals, Inc.                                                     $275.00
     155 Miller Gun Supply LTD                                                           $589.00
     156 Miller Stove & Fireplace                                                        $395.00
     1571Monon Telephone Company, Inc.                                        I          $825.00
     1581 Morgan Soil & Water Conservation District                           I          $230.00
     159 Mote Farm Service, Inc.                                              I          $290.00
     160 Moyer Grain Co., Inc.                                                           $375.00
     1611 Munson Farm Supply (Dave Munson)                                               $325.00
     1621Myszka Lumber Mill, Inc.                                                        $225.00
     163!Naheola Credit Union                                                 I          $590.00
     16410berlin Real Estate and Auctioneers, Inc.                                       $785.00
     16510'Donnell Funeral Home, Inc.                                                    $325.00
     16610hio Stave Company                                                              $325.00
     167 Osentoski Farm Equipment, Inc.                                                  $175.00
     168 Otto's Coal Yard & Stoves                                                       $175.00
     1691 Panhandle Forstry Services, Inc.                                    I          $590.00
     170 Parker & Sons Equipment, Inc.                                                   $212.50
     171IPeacock Hotels LLC dba Red Roof Inn                                             $750.00
     172IPeacock Timber Co, Inc.                                                         $337.50
         I

     1731Peoples Bank of Alabama                                                         $895.00
        IPepin County Abstract & Title, LLC kna Western Wisconsin Title
     174 Services, LLC                                                        I        $lA95.00
     175/Pine Ridge Repair (Marvin Beechy)                                               $900.00
     176 Pine River Lumber Co., Inc.                                                     $500.00
     177/producers Service Corporation                                                   $325.00
     178lPulaski County Abstract Company, Inc.                                           $700.00
     179 Ray H. Miller Logging & Lumber LLC dba McKay Hardwoods                          $437.50



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                                      KOUTTOULAS/TGP (3:12-cr-48)
                                 VICTIM LOSS INFO FOR RESTITUTION

         I                              Victim Name                            Paid to TK/TGP
     180lRensseiaer Swine Services, P.c.                                              $420.00
     1811 Rieth-Riley Construction Co., Inc.                                          $325.00
     182!Rife Heavy DutyTruck Parts, Inc.                                             $370.00
     183 Riker Farm Deeds                                                             $325.00
     184!R.L. Quinter Well Drilling                                        !          $330.00
     185 R.M. Barrineau and Associates, Inc.                                          $390.00
     186 Robin Roberts                                                     I          $500.00
     187 Roger Lang                                                        I          $375.00
     1881Rolfe Insurance Agency                                            I          $750.00
     1891Ross County Farm Bureau, Inc.                                                $390.00
     190 Royal Inn (Sairam Hotels LLC)                                                $450.00
     191 RSC, Inc. dba Remerica Somerset Realty                                       $295.00
     192 Runkel Abstract & Title Co.                                                  $500.00
         i
     1931Russell Oil Company                                               1          $200.00
     194 S & M Bike Shop (Sam L. Hershberger)                                         $325.00
     1951s & T Supply, Inc.                                                           $325.00
     196 Scenic Realty Co.                                                            $325.00
     1971Salem Hardwood, Inc.                                              I          $710.00
     1981Schauls Gas Inc.                                                             $250.00
     1991Schmucker Sales (Clarence Schmucker)                                         $285.00
     200iSchrock Silo Repair (Wilbur Schrock)                                         $490.00
     2011Schueller Company, Inc.                                                      $225.00
     2021schulz Realty, Inc.                                                          $162.50
     2031Secher Site Specific LLC (Rodney Schmidt)                                    $275.00
     2041Shaw Real Estate & Auction, Inc.                                             $225.00
     2051Snelgrove Surveying & Mapping, Inc.                                          $540.00
     2061 Solid Rock Farms (Precision Planting)                                       $750.00
     2071south Milford Grain Company, Inc.                                            $350.00
     208/Southeastern Surveying and Mapping Corp.                                   $1,350.00
     2091 Southern Forestry Consultants, Inc.                                       $1,670.00
     21olSouthwest Survey & Eng. Co., Inc.                                            $290.00
     211IStark Soil & Water Conservation District                                   $1,000.00
     212 Stiverson & Associates, Inc.                                                 $225.00
     213IStrait Realty (Ms. Sam Murphy)                                               $595.00
     214 Strategic Farm Marketing                                                     $475.00
     2151 Stryker Farmers Exchange Co.                                                $200.00



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                                      KOUnOULAS/TGP (3:12-cr-48)
                                   VICTIM LOSS INFO FOR RESTITUTION

         I                              Victim Name                            Paid to TK/TGP
     216!Synergy Seeds, Inc.                                                          $340.00
     217IT.R. Shearer Agriculture                                                     $309.50
     218 T & T Fertilizer                                                             $400.00
     2191The Amford Agency LLC (Chad Bradford)                             I          $500.00
     220 The Apple Creek Banking Co.                                                  $480.00
     221IThe Bank of BonifaY/First Federal Bank of Florida                I           $570.00
     222IThe Canvas Shop LLC                                              I           $260.00
     2231The Pond Builders                                                            $590.00
     2241The Savings Bank                                                 I           $460.00
     2251Thompson Durkee Insurance                                                    $450.00
     226 Tim Geiger Agency, Inc.                                                    $1,905.00
     227ITime Limited Forestry, Inc.                                                  $390.00
     228 Total Seed Production                                                        $650.00
     229 Tri County Bank                                                  I           $650.00
     230lTri County Gas Service, Inc.                                                 $800.00
     2311Tri County Insurance Services LLC                                            $585.00
     232 Triple "A" Wood Co., Inc.                                                  $1,250.00
     233 Triple J-Mar Petroleum, Inc.                                                 $800.00
     234!Tri-State Timber Co., Inc.                                                   $325.00
     2351Troyer Engine Ltd. (Robert Troyer)                                I          $250.00
     236/Troyer Machine LLC                                                           $750.00
     2371Trump Realty, LLC                                                 !          $300.00
     238lTuholski Farms Inc.                                                          $650.00
     239!Two Inlets Mill Building Supply                                              $325.00
     240 Union County Title, Ltd.                                                     $115.00
     2411 United Producers, Inc.                                                      $490.00
     242jUp North Real Estate                                             I           $600.00
     2431Value Properties                                                 1           $225.00
     244!Vermilion Valley Bank                                                        $325.00
     245 W.W. Sellers & Associates, Inc.                                              $975.00
     246 Walcott Elevator                                                  I          $325.00
     2471Walters & Peck Insurance Agency, Inc.                            I           $340.00
     2481Walton County Extension Service (U of F)                                     $200.00
     2491Ward & Emler Surveying, Inc.                                                 $455.00
     250lwayne Mutual Insurance Company                                               $480.00
     251 Weiss Realty, LLC                                                            $325.00



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                                     KOUTTOULAS/TGP (3:12-cr-48)
                                  VICTIM LOSS INFO FOR RESTITUTION
        ,                             Victim Name                            Paid to TK/TGP
        i
     2521Weldy Enterprises (Hahn Enterprises, Inc.)                      I          $500.00
     2531werner Farm (Otto Werner)                                                  $500.00
     2541Werner Insurance Agency                                                    $325.00
     2551Whitfield Timber Co., Inc.                                                 $770.00
     2561wilco Timber Co., Inc.                                                   $4,000.00
     2571Wildlife Woodlands Real Estate                                           $2,100.00
     2581Williamson Insurance Agency LLC                                          $1,000.00
     259!Wilmon Timberlands, LLC                                                    $225.00
     260. Wilson Hardwoods, Inc.                                                  $6,000.00
     261!Wilson National, LLC (Real Estate & Auction Group)                       $3,245.00
     2621wolph Title, Inc. (Alicia Roshong)                                         $590.00
     263 Woodland Outdoor & Supply Inc.                                             $425.00
     264 Wray's Septic Tank & Development Co.                                       $325.00
     265 Yoder & Sons Repair Shop                                                 $1,255.00
     2661Yoder Plumbing & Supply                                                    $325.00
        I
     267iYoung Crop Insurance Agency, LLC
                                                                         ,        $1,705.20
        I                                                                I
        lOut of pocket losses documented by victims                      I $172,371.15




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